                 Case 18-12635-LSS              Doc 149       Filed 12/04/18         Page 1 of 6



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

-----------------------------------------------------------------
In re:                                                                  Chapter 11

         David’s Bridal, Inc., et al.,1                                 Case No. 18-12635 (LSS)

                                    Debtors.                            (Jointly Administered)
-----------------------------------------------------------------

         NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE, that the undersigned, appearing for 3133 Erie Boulevard

Associates, LLC and Cumberland Avenue Plaza, LLC (collectively the "Creditors"), pursuant to

Section 1109(b) of the Bankruptcy Code and Rules 2002, 9007 and 9010 of the Federal Rules of

Bankruptcy Procedure, hereby requests that all notices given to or required to be served in this

case be given and served upon the undersigned at the office, address and telephone numbers set

forth below:

          Kevin M. Newman, Esq.                                           Teresa M. Bennett, Esq.
          BARCLAY DAMON LLP                                               BARCLAY DAMON LLP
          Barclay Damon Tower                                             Barclay Damon Tower
         125 East Jefferson Street                                       125 East Jefferson Street
       Syracuse, New York 13202                                        Syracuse, New York 13202
       Telephone: (315) 413-7115                                       Telephone: (315) 413-7111
        Facsimile: (315) 703-7349                                       Facsimile: (315) 703-7344
    Email: knewman@barclaydamon.com                                 Email: tbennett@barclaydamon.com

         PLEASE TAKE FURTHER NOTICE, that the foregoing demand includes not only the

notices and papers referred to in the Rules specified above, but also includes, without limitation,

orders and notices of any applications, motions, petitions, pleadings, complaints or demands

transmitted or conveyed by mail delivery, telephone, telex or otherwise, which affect the Debtors

or property of the Debtors.

1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc. (3096). The
location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken, Pennsylvania 19428.


17557569.1
                 Case 18-12635-LSS      Doc 149     Filed 12/04/18     Page 2 of 6



         PLEASE TAKE FURTHER NOTICE, that the undersigned hereby requests that the

name and address set forth herein be added to the mailing matrix in this case.

         PLEASE TAKE FURTHER NOTICE, that the Creditors intend that neither this Notice

of Appearance, nor any former or later pleading, claim or suit shall waive (1) Creditors’ right to

have final orders in non-core matters entered only after de novo review by a District Court

Judge, (2) Creditors’ right to trial by jury in any proceeding so triable in this case or any case,

controversy, or proceeding related in this case, (3) Creditors’ right to have the District Court

withdraw the reference in any matter subject to mandatory or discretionary withdrawal, (4)

Creditors’ right to have any claims constitutionally required to be determined by the District

Court be determined therein, (5) Creditors’ right to have any matter heard by an arbitrator, or (6)

any other rights, claims, actions, defenses, setoffs, or recoupments to which Creditors are or may

be entitled under agreements, in law or in equity, all of which rights, claims, actions, defenses,

setoffs, and recoupments Creditors expressly reserve.

Dated:       December 4, 2018                BARCLAY DAMON LLP
             Syracuse, New York              Attorneys for 3133 Erie Boulevard Associates, LLC
                                             and Cumberland Avenue Plaza, LLC

                                             By:    /s/Kevin M. Newman
                                             Kevin M. Newman
                                             Office and Post Office Address
                                             Barclay Damon Tower
                                             125 East Jefferson Street
                                             Syracuse, New York 13202
                                             Telephone:     (315) 413-7115
                                             Facsimile:     (315) 703-7349




17557569.1
                 Case 18-12635-LSS             Doc 149        Filed 12/04/18   Page 3 of 6



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

-----------------------------------------------------------------
In re:                                                               Chapter 11

         David’s Bridal, Inc., et al.,                               Case No. 18-12635 (LSS)

                                    Debtors.                         (Jointly Administered)
-----------------------------------------------------------------

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
COUNTY OF ONONDAGA ) ss.:
         DEBORAH S. MILLER, being duly sworn, deposes and says:

      1.      That she is in the employ of Barclay Damon LLP, attorneys for 3133 Erie
Boulevard Associates, LLC and Cumberland Avenue Plaza, LLC in the above-captioned
bankruptcy proceeding.

        2.       That on the 4th day of December, 2018, she electronically filed Notice of
Appearance and Demand for Service of Papers with the Clerk of the Bankruptcy Court for the
District of Delaware using the CM/ECF system, which sent notification of such filing to the
parties set forth on the attached Service List A.

        3.     That on the 4th day of December, 2018, she served a copy of Notice of
Appearance and Demand for Service of Papers upon the parties set forth on the attached Service
List B via first class mail by depositing copies of same in a properly addressed, postage paid
envelope in an official depository under the exclusive care and custody of the United States
Postal Service within the State of New York.

                                                       /s/Deborah S. Miller
                                                      DEBORAH S. MILLER
Sworn to before me this 4th
day of December, 2018.

  /s/Audrey A. Vrooman
Notary Public, State of New York
Qual. In Onondaga Cty No. 01VR4762616
Commission Expires July 31, 2022




17557569.1
              Case 18-12635-LSS    Doc 149    Filed 12/04/18   Page 4 of 6



                                     Service List A

    •    Karen C. Bifferato kbifferato@connollygallagher.com
    •    David M. Blau DBlau@clarkhill.com
    •    Dustin Parker Branch branchd@ballardspahr.com,
         carolod@ballardspahr.com;ZarnighianN@ballardspahr.com
    •    Timothy P. Cairns tcairns@pszjlaw.com
    •    Christopher L. Carter christopher.carter@morganlewis.com
    •    Eboney Cobb ecobb@pbfcm.com, rgleason@pbfcm.com;ecobb@ecf.inforuptcy.com
    •    Mark D. Collins rbgroup@rlf.com;ann-jerominski-2390@ecf.pacerpro.com
    •    Kelly M. Conlan kconlan@connollygallagher.com
    •    Richard T. Davis rdavis@cafarocompany.com
    •    John D. Demmy john.demmy@saul.com, robyn.warren@saul.com
    •    John P. Dillman houston_bankruptcy@publicans.com
    •    Donlin, Recano & Co., Inc. ljordan@donlinrecano.com
    •    Douglas M Evans devans@kmelaw.com
    •    Mark E. Felger mfelger@cozen.com, MBrickley@cozen.com;mmillis@cozen.com
    •    Timothy Jay Fox timothy.fox@usdoj.gov
    •    Thomas M. Gaa tgaa@bbslaw.com, yessenia@bbslaw.com
    •    Steven A. Ginther deecf@dor.mo.gov
    •    Ronald E Gold rgold@fbtlaw.com,
         awebb@fbtlaw.com;eseverini@fbtlaw.com;bparker@fbtlaw.com
    •    Karen M. Grivner kgrivner@clarkhill.com, sambrose@clarkhill.com
    •    Brett Michael Haywood haywood@rlf.com, rbgroup@rlf.com,ann-jerominski-
         2390@ecf.pacerpro.com
    •    Leslie C. Heilman heilmanl@ballardspahr.com, lanoc@ballardspahr.com
    •    Laura Davis Jones ljones@pszjlaw.com, efile1@pszjlaw.com
    •    Susan E. Kaufman skaufman@skaufmanlaw.com
    •    Gerald P. Kennedy gerald.kennedy@procopio.com,
         Kristina.terlaga@procopio.com;calendaring@procopio.com
    •    Jeffrey Kurtzman kurtzman@kurtzmansteady.com
    •    Kathleen M. LaManna klamanna@goodwin.com,
         bankruptcy@goodwin.com;bankruptcyparalegal@goodwin.com
    •    M. Natasha Labovitz nlabovitz@debevoise.com, amcdermott@debevoise.com
    •    Tara LeDay bankruptcy@mvbalaw.com, ccain@mvbalaw.com,
         tleday@ecf.courtdrive.com,jwilliams@mvbalaw.com
    •    Joseph H Lemkin jlemkin@stark-stark.com
    •    Scott J. Leonhardt leonhardt@teamrosner.com
    •    Joel H Levitin jlevitin@cahill.com, rstieglitz@cahill.com;ma@cahill.com
    •    Jaime Luton Chapman bankfilings@ycst.com
    •    Chantelle D'nae McClamb mcclambc@ballardspahr.com, lanoc@ballardspahr.com
    •    Rachel B. Mersky rmersky@monlaw.com
    •    Laura J. Monroe lmbkr@pbfcm.com, krobertson@ecf.inforuptcy.com
    •    Edmon L. Morton bankfilings@ycst.com
    •    Christopher B. Mosley Chris.Mosley@fortworthtexas.gov,
         Sharon.Floyd@fortworthtexas.gov



17557569.1
               Case 18-12635-LSS      Doc 149    Filed 12/04/18    Page 5 of 6



    •    Joseph M Mulvihill jmulvihill@pszjlaw.com
    •    Joseph Michael Mulvihill jmulvihill@pszjlaw.com, efile1@pszyj.com
    •    David M. Neumann dneumann@meyersroman.com, mnowak@meyersroman.com
    •    Victor W. Newmark vnewmark@evict.net
    •    Thomas Onder tonder@stark-stark.com, ereid@stark-stark.com
    •    Kristen N. Pate bk@brookfieldpropertiesretail.com
    •    Norman L. Pernick npernick@coleschotz.com,
         pratkowiak@coleschotz.com;bankruptcy@coleschotz.com;jwhitworth@coleschotz.com
    •    David L. Pollack pollack@ballardspahr.com, blunt@ballardspahr.com
    •    Laurel D. Roglen roglenl@ballardspahr.com, lanoc@ballardspahr.com
    •    Diane W. Sanders austin.bankruptcy@publicans.com
    •    Matthew Schaeffer matthew.schaeffer@baileycavalieri.com
    •    Michelle E. Shriro mshriro@singerlevick.com,
         croote@singerlevick.com,scotton@singerlevick.com
    •    Andrew I. Silfen andrew.silfen@arentfox.com, hirsh.robert@arentfox.com;
         beth.brownstein@arentfox.com; jackson.toof@arentfox.com;
         lisa.indelicato@arentfox.com; andy.kong@arentfox.com; jordana.renert@arentfox.com;
         Phillip.khezri@arentfox.com
    •    Andrew I. Silfen silfen.andrew@arentfox.com, hirsh.robert@arentfox.com;
         beth.brownstein@arentfox.com;jackson.toof@arentfox.com;lisa.indelicato@arentfox.co
         m;andy.kong@arentfox.com;jordana.renert@arentfox.com;Phillip.khezri@arentfox.com
    •    Owen M. Sonik osonik@pbfcm.com, tpope@pbfcm.com;osonik@ecf.inforuptcy.com
    •    Don Stecker don.stecker@lgbs.com,sanantonio.bankruptcy@publicans.com
    •    John Mark Stern john.stern@oag.texas.gov, sherri.simpson@oag.texas.gov
    •    J. Kate Stickles kstickles@coleschotz.com,
         bankruptcy@coleschotz.com;pratkowiak@coleschotz.com;jwhitworth@coleschotz.com
    •    Richard A. Stieglitz Jr. rstieglitz@cahill.com
    •    Daniel E Stroik destroik@debevoise.com, amcdermott@debevoise.com
    •    Ronald Mark Tucker rtucker@simon.com, bankruptcy@simon.com
    •    U.S. Trustee USTPRegion03.WL.ECF@USDOJ.GOV
    •    John R. Weaver jrweaverlaw@verizon.net, DCrivaro@stark-
         stark.com;DMisener@stark-stark.com
    •    Helen Elizabeth Weller dallas.bankruptcy@publicans.com,
         Beth.weller@lgbs.com;Dora.Casiano-Perez@lgbs.com




17557569.1
             Case 18-12635-LSS       Doc 149       Filed 12/04/18   Page 6 of 6



                                          Service List B


Craig A. Bruens
Nick S. Kaluk, III
M. Natasha Labovitz
Daniel E Stroik
Debevoise & Plimpton
919 Third Ave.
New York NY 10022

Jaime Luton Chapman
Young Conaway Stargatt & Taylor, LLP
1000 West Street, 17th Fl.,P.O. Box 391
Wilmington DE 19899-0951

Edmon L. Morton
Young Conaway Stargatt & Taylor, LLP
Rodney Square,1000 North King Street
Wilmington DE 19801

Timothy Jay Fox, Jr.
Office of the United States Trustee
U.S. Department of Justice
844 King Street, Suite 2207, Lockbox #35
Wilmington, DE 19801




17557569.1
